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                        Exhibit C

       H&LA Philmont Scout Ranch Engagement Letter
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     Proposal for a Comprehensive Appraisal
                  Philmont Scout Ranch
                Colfax County, New Mexico

                                               HOTEL & LEISURE ADVISORS




            Our Mission
 Providing thorough and thoughtful
analysis to our clients in all sectors of
       the hospitality industry
                                                          hladvisors.com
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August 24, 2020

Mr. Steve McGowan
Boy Scouts of America
1325 W. Walnut Lane
Irving, TX 75038
Via e-mail: tphillips@alvarezandmarsal.com, redgecombe@alvarezandmarsal.com

        RE:      Comprehensive Appraisal
                 Philmont Scout Ranch, Colfax County, New Mexico

Dear Mr. McGowan:

Thank you for the opportunity to submit a proposal to prepare a comprehensive appraisal of the
Philmont Scout Ranch and its approximately 140,000 acres of land in Colfax County, New
Mexico. Hotel & Leisure Advisors (H&LA) would be pleased to prepare an appraisal for the
subject facility as outlined in the attached proposal.

Based on our hospitality experience and our understanding of the proposed facility concepts, I
am confident that H&LA is well qualified to respond to your consulting requirements. We have
developed sophisticated and innovative research techniques, resulting in thorough analyses that
incorporate in-depth local, regional, and state market information. For additional information
about our firm, our company qualifications are included with this proposal. Over the years, H&LA
has served more than 700 clients on a variety of projects. Upon request, we will provide you
with a list of references relevant to your project whom you can contact.

As per your request, I have spoken to Ronald Alfred, MAI regarding his familiarity with
comparable sales in the subject area. To proceed with our engagement, please sign this proposal
and return it to our office with a retainer check. I look forward to working with you on this
assignment. If you have any questions or require any additional information, please contact me.

Sincerely,

Hotel & Leisure Advisors, LLC



David J. Sangree, MAI, ISHC
President




Cleveland, Ohio ● 216-228-7000              www.hladvisors.com                  San Antonio, Texas ● 210-319-5440
            Corporate Headquarters: 14805 Detroit Avenue, Suite 420, Cleveland, Ohio 44107-3921
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                          Proposal for Consulting Services for the
                     Philmont Scout Ranch, Colfax County, New Mexico

  I.       Comprehensive Appraisal

OBJECTIVE

The objective of this engagement is an appraisal of the Philmont Scout Ranch in Colfax
County. We understand the facility includes approximately 140,000 acres of land and is a
nationally recognized Boy Scout camp. The appraisal will include a robust highest and best
use analysis, including a market analysis on the campground resort market. It is our
understanding that the estimate of market value will be used for internal valuation purposes.
The appraisal will conform to Uniform Standards of Professional Appraisal Practice (USPAP)
and Office of the Comptroller.

SCOPE OF WORK

Before beginning our study, we will confer with you to determine the exact scope of the
project and address specific issues or requests you may have. We will identify any
confidentiality issues in connection with the project. In preparing the assignment, our scope
of work is as follows:

Fieldwork and Data Collection:

       •   Prepare and issue a data request list to the client representative

       •   Travel to the subject site to inspect the subject property, meet client representatives,
           and conduct fieldwork

       •   Review property data such as uses of various land parcels, balance sheet, historical
           and future financial forecasts, capital investment, usage levels, site & building plans,
           tax & zoning information, etc.

       •   Review previous work, relationships, market research, and information concerning
           the subject and the market

       •   Analyze the subject site, including traffic counts, access, visibility, proximity and
           travel time, nearby visitor attractions, nearby corporate and group demand
           generators, and various development in the market

       •   Review the overall development master plan and projected development within the
           neighborhood

       •   Interview real estate brokers in the New Mexico area concerning comparable land
           and campground resort sales



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   •   Meet with managers of the subject property including general manager, facilities
       manager, controller, etc.

   •   Research information and/or meet with representatives of the local convention and
       visitors bureau, chamber of commerce, city officials, county officials, economic
       development officials, and assessor's office to collect information concerning the
       subject and region

Analysis:

   •   Present a national overview of the campground resort industry and/or other
       appropriate industry sectors, analyzing the growth of the industry and potential
       concerns for the future

   •   Analyze historical financial performance of the subject property including usage,
       revenues, and expenses

   •   Review the current and projected development within the neighborhood

   •   Assess the economic and demographic factors of the general area to determine the
       economic environment of the subject and the sources from which business is
       generated within the area. This will include a review of the local and larger region’s
       population, household growth, employment, income levels, transportation, etc.

   •   Examine the zoning of the various parcels of land and determine the number of acres
       that are zoned for commercial, agricultural, forestry, and residential uses

   •   Analyze potential land developments for the subject site to provide a basis for the
       analysis of comparable land sale parcels

   •   Analyze the potential performance of the subject venue to determine its operating
       potential as an independent for-profit business

   •   Analyze the current market of land buyers, sellers, and new project developers

   •   Analyze land sales and current listings to determine prices per square foot and trends
       in pricing

   •   Identify new projects that are under construction, planned, or proposed in the market

   •   Evaluate trends in the supply of and demand for land in order to estimate the future
       pricing trends

   •   Review land sales with Ronald Alfred, MAI, a New Mexico based appraiser with
       extensive experience in evaluating ranch and land sales in the region

   •   Utilize the sales comparison approach to estimate the value of the land as is. We may
       need to perform multiple sales comparison approaches depending upon the zoning
       and uses of individual land parcels within the overall approximately 140,000 acres.
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      •   Identify comparable resort sales and utilize the sales comparison approach to
          estimate the value of the improved campground resort portion of the overall
          development

      •   Consider the income capitalization approach for the subject and determine if
          sufficient data is available to prepare the approach assuming its operation as a for-
          profit venture instead of its current nonprofit model

      •   Consider the cost approach and determine if it is an appropriate analysis
          methodology

Narrative Report: We will communicate our findings in a comprehensive appraisal report
that will provide information concerning the subject property and our opinion of value. The
appraisal report’s market analysis section will study trends in various market segments as
part of a highest and best use analysis that may consider, among other things, the subject’s
potential as a for-profit campground resort. We will consider the income capitalization
approach, sales comparison approach, and cost approach to value as applicable, but will
primarily focus on the sales comparison approach. We will communicate to you our opinion
of market value of the real estate in conformity with the Uniform Standards of Professional
Appraisal Practice. We will provide an estimate of market value “as is.”

II.       Litigation Support

David Sangree, MAI, CPA, ISHC is available to provide litigation support and testimony
concerning the appraisal report. I have testified at numerous local, state, and federal
courthouses.

Project Qualifications and Experience

Our consultants are national experts in the analysis of all types of leisure properties. We
have prepared more than 3,000 studies on a wide range of hotels and leisure properties in
the United States and Canada. We have completed 20 campground resort studies in the
United States in the last 10 years. With your project in mind, below is a sample of projects
we have completed over the years that are similar to yours in property type or scope of
services. A complete list of all H&LA projects can be found at our website.


                                            Jellystone Park Camp Resort – Larkspur, Colorado:
                                            Market Feasibility and Financial Analysis Study on
                                            the expansion and redevelopment of the Jellystone
                                            Larkspur campground. We analyzed the historical
                                            financials and positioning of the campground to
                                            determine if additional recreational amenities were
                                            viable for guests of the campground and for other
                                            local residents.
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Frontier Town Campground – Berlin, Maryland: Market
Feasibility and Financial Analysis Study that studied the
campground as part of the analysis of redevelopment of
the waterpark at the subject site. We analyzed the
occupancy, ADR, and sources of business for the
campground to assist in determining waterpark usage.
The waterpark’s location adjacent to the campground
was its strongest attribute since most visitors to the
waterpark were projected to be campground guests.


                                          Maddox Family Campground – Chincoteague
                                          Island, Virgina: Market Feasibility and Financial
                                          Analysis Study on the expansion of existing
                                          facilities. We analyzed the competitive set of
                                          campgrounds in the area and considered their
                                          amenities when suggesting additional recreational
                                          amenities to develop at the existing campground.




Cook Riverside Cabins – Barnett Township,
Pennsylvania: Appraisal and Market Analysis Report
for the cabins, gift shop, and seasonally operated
cafe. We completed a detailed analysis of demand
generators within the market and analyzed historical
financial performance of the subject, including
reviewing daily, monthly, and annual occupancy;
ADR; and financial figures.


                                 Jellystone Park Camp and Resort – East Drumore Township,
                                 Pennsylvania: Appraisal and Market Analysis report for the
                                 full-service campground and RV park. The property offers
                                 203 rental sites including 44 cabins, 159 RV sites, an
                                 outdoor waterpark, retail store, fishing pond, sand
                                 volleyball, basketball court, 18-hole miniature golf, gem
                                 mining, pedal cart track, golf cart rentals and a playground.
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Proposed Resort – Oklahoma City MSA,
Oklahoma: H&LA evaluated the feasibility of a
proposed resort in the Oklahoma City MSA that
would potentially include a 400-room hotel,
waterpark, food and beverage outlets, meeting
space, spa, and additional resort amenities. The
resort was to be built as part of a mixed-use
complex that included additional entertainment,
dining, and retail outlets. Our analysis evaluated
the potential for the resort and made recommendations for sizing, room count, amenities,
and brand affiliation. We also made financial projections and compared the prospective value
to the construction costs to determine feasibility.

                                    Great Wolf Lodge Properties – United States and
                                    Canada: Over the years, Hotel & Leisure Advisors has
                                    worked with several different clients in preparing
                                    various consulting assignments for 13 Great Wolf Lodge
                                    properties in the United States and Canada. These
                                    studies included appraisals, feasibility studies, and
                                    general consulting analyses. Great Wolf Resorts is the
                                    largest indoor waterpark company in North America,
                                    with 16 properties in the U.S. and Canada.

References

Mark Rantala
President Economic Development Opportunity Advisors, LLC
Former Executive Director Lake County Ohio Port and Economic Development Authority
440-759-3261
markrantala@icloud.com
Market and financial feasibility Studies for proposed hotels and/or indoor waterpark resorts
at five different locations in Lake County, Ohio

Mr. Gerald Svoboda
Vice President, Chief Appraiser
Comerica Bank
(313) 222-6172
gfsvoboda@comerica.com
Multiple appraisals for hotels, arenas, and recreational properties throughout the United
States

Carol Dixon
Assistant Vice President Secured Credit
First Commonwealth Bank
(O) 724-463-2440
CDixon@fcbanking.com
Multiple appraisals for campgrounds, hotels, and other leisure properties in the United
States
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Fees & Payment Schedule


                                     Project Fees
                Component                                         Fee
  I - Comprehensive Appraisal                                  $50,000
                                                   $450 per hour for testimony and
  II - Litigation Support                          preparation time; $350 per hour
                                                            for travel time
  Travel, subsistence, and out-of-pocket
                                                Not to exceed $8,000 for Component I;
  expenses (including consulting fees to
                                                      additional for Component II
  Ron Alfred, MAI)

These fee estimates are subject to revision if the scope of the engagement is altered. In
such an event, we will discuss the matter with you so that a mutually acceptable revision can
be made. Our price quote is valid for 90 days from the date of this proposal. Projected
expenses exclude any applicable state sales taxes. If at any point during the engagement a
decision is made to discontinue our services, our professional fees will be based on the time
expended through that date.


                                 Payment Schedule

  We require a 50% retainer prior to beginning the assignment.
  After conclusion of our fieldwork, we will issue an invoice for 25% of the project fee.
  This payment is due prior to our issuing the draft report.
  The final invoice (balance plus expenses) will be sent with the draft copy of the
  completed report. Payment of this invoice is required prior to our issuance of final
  reports. Hard copies of the report are available upon request for an additional fee.
  Any revisions to the report made within 30 days of issuance of the draft are included
  in the fee. Any revisions after 30 days will require an additional 10% of the project
  fee. If we do not receive any revisions within 30 days, we will issue the final report,
  provided we have received payment of the final invoice.
  Any invoice that is 60 days past due is subject to a 1.5% monthly finance charge.
  Client agrees to pay any fees incurred as a result of collections activity.

We will negotiate fees for any additional services when you request them. Our consulting
services are available at a rate of $150-$450 per hour, depending on the staff person
involved, or we will issue a specific fee quote once the scope of additional services is
determined.

Timing

We can begin work immediately and plan to provide you with the report documenting our
conclusions within 40 to 60 days of receiving the retainer payment and the signed
engagement letter. We will work with your appointed representative to ensure the required
data is made available. The delivery date of the draft and final reports is contingent upon
receiving the data requested for the property on a timely basis.
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We will communicate with you on a regular basis throughout the project and update you as
needed on our progress. Chronologically, we will:

   •   Issue a data request list indicating items needed to review as part of our analysis.

   •   Schedule appointments to meet with you and tour the subject site and local/regional
       market. Our fieldwork will include visits to a range of comparable land sales and
       comparable facilities.

   •   After conclusion of fieldwork, we will conduct additional research and interviews and
       analyze additional data to prepare the report. It typically takes a few weeks to
       analyze the data and an additional few weeks to write the report.

   •   Execute internal review of the report for quality control purposes.

   •   Issue the report in draft format within the timeframe specified in the proposal. After
       you review the draft, we will issue the final version of the report, including addenda
       items.

Conditions

The report will be prepared in accordance with our Standard Conditions, which are attached.
To indicate your acceptance of this proposal, please sign this proposal and return it to us
with a retainer of 50% as authorization for us to proceed with the engagement.

As a material inducement for Hotel & Leisure Advisors to enter into this agreement for
services and for value received, and the consideration of Hotel & Leisure Advisors’
performance in providing appraisal and consulting services for the client, the signature on
this letter guarantees the company's timely payment of this agreement. This includes, but is
not limited to, the payment of any and all sums due pursuant to the agreement. This
guarantee applies to appraisal and consulting services that have been rendered prior to the
above date and appraisal and consulting services that are rendered after the above date.

The terms of this agreement shall be interpreted and construed in accordance with the laws
of the State of Ohio. The client hereby submits to the nonexclusive jurisdiction of the court
having jurisdiction in the County of Cuyahoga, State of Ohio, and agrees not to raise and
waive any objection based upon forum non conveniens. Thank you for this opportunity to be
of service. We look forward to working with you on this assignment.


Hotel & Leisure Advisors, LLC



David J. Sangree, MAI, ISHC
President
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By signing below, I agree to the fees and terms associated with component(s) I as described
in the attached proposal. I agree to pay fees for the report in the amount of $50,000
plus expenses no greater than $8,000. I have read and understood the proposal and the
attached standard conditions, and I agree to the terms and conditions therein.


___________
Signature

Steven P. McGowan
Name (print)

General Counsel and Secretary
Title

Boy Scouts of America
Company

August 27, 2020
Date
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Standard Conditions: The following Standard                   and accurate. Some of this information may
Conditions apply to real estate consulting engagements        have been provided by the owner of the
and appraisals by Hotel & Leisure Advisors, LLC               property. Neither the consultants nor H&LA
(H&LA). Extraordinary Assumptions are added as                shall be responsible for the accuracy or
required.                                                     completeness of such information including
                                                              the correctness of public records or filings,
1.      The report is to be used in whole and not in          estimates, opinions, dimensions, sketches,
        part. The report, engagement letter and these         exhibits, and other factual matters.
        standard conditions constitute the entire
        understanding and agreement between the          5.   The report may contain prospective financial
        parties with respect to the subject matter            information, estimates, or opinions that
        hereof and supersedes any and all prior or            represent the consultants’ or appraisers’ view
        current agreements or understandings                  of reasonable expectations at a particular
        between the parties, whether in writing or            point in time. Such information, estimates, or
        orally. The report and engagement letter may          opinions are not offered as predictions or as
        not be amended except in writing signed by            assurances that a particular level of income or
        the parties hereto. These standard conditions         profit will be achieved, that events will occur,
        shall survive the completion of the                   or that a particular price will be offered or
        assignment.                                           accepted. Actual results achieved during the
                                                              period covered by H&LA’s prospective
2.      Publication of the report or engagement letter        financial analyses will vary from those
        without the prior written consent of H&LA is          described in the report, and the variations
        prohibited unless otherwise stated in the             may be material. The financial projections
        letter of engagement. Neither the report nor          stated in the report and any opinions of value
        engagement letter may be used by any                  are as of the date stated in the report.
        person other than the party to whom they are          Changes since that date in external and
        addressed nor may they be used for purposes           market factors or in the property itself can
        other than that for which they were prepared.         significantly affect property value or
        Neither the engagement letter, nor the                performance.
        report, nor their contents, nor any reference
        to the appraisers or H&LA or any reference to    6.   H&LA has not considered the presence of
        the Appraisal Institute, International Society        potentially      hazardous  materials    and
        of Hospitality Consultants, American Institute        contaminants such as asbestos, urea
        of Certified Public Accountants, or the               formaldehyde foam insulation, toxic waste,
        American Institute of Architects, (or the MAI,        PCBs, pesticides, mold, lead-based paints, or
        ISHC, CPA or AIA designations) may be                 other materials. The appraisers and
        included or quoted in any offering circular or        consultants are not qualified to detect or
        registration statement, prospectus, sales             report on hazardous material contamination
        brochure, other appraisal, loan, or other             and H&LA urges the client to retain an expert
        agreement or document without H&LA’s prior            in this field if desired.
        written permission, in its sole discretion.
        Moreover, “H&LA” is a registered trademark       7.   Unless noted, H&LA assumes there are no
        of Hotel & Leisure Advisors, LLC. The client          encroachments, zoning violations, or building
        agrees that in event of a breach of this              violations encumbering the subject property.
        Section 2, in addition to any other rights and        It is assumed that the property will not be
        remedies of H&LA, and hereby consents to              operated in violation of any applicable
        injunctive relief.                                    government regulations, zoning, codes,
                                                              ordinances, or statutes. No responsibility is
3.      No responsibility is assumed for the legal            assumed for architectural design and building
        description or any matters which are legal in         codes. The analysis and concept drawings
        nature. Title to the property is assumed to be        included in the report are not intended for
        good and marketable and the property is               technical purposes.
        assumed to be free and clear of all liens
        unless otherwise stated. No survey of the        8.   All mortgages, liens, encumbrances, leases,
        property was performed. Sketches, maps,               and servitudes have been disregarded unless
        photos, or other graphic aids included in the         specified otherwise.
        reports are intended to assist the reader in
        ready identification and visualization of the    9.   Real estate consulting engagements and
        property and are not intended for technical           appraisal assignments are accepted with the
        purposes.                                             understanding that there is no obligation to
                                                              furnish services after completion of the
4.      The information contained in the assignment           original assignment. We are not required to
        is based upon data gathered from sources the          give testimony or attendance in court by
        consultant or appraiser assumes to be reliable        reason of this analysis without previous
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      arrangements, and the client will be obligated          Appraisal Practice and the Code of Ethics of
      to pay in advance for the standard per diem             the Appraisal Institute. No other code,
      fees and travel costs.                                  ordinance, rule or regulation of any kind or
                                                              nature whatsoever shall apply.
10.   No significant change is assumed in the
      supply and demand patterns indicated in the       16.   It is agreed that the maximum damages
      report.                                                 recoverable from H&LA or its affiliates or their
                                                              respective employees relative to this
                                                              engagement shall be the amount of the
11.   The quality of a lodging facility or other              money actually collected by H&LA or its
      leisure property’s management has a direct              affiliates for work performed pursuant to the
      effect on the property’s economic viability. It         engagement letter. The client acknowledges
      should be specifically noted by any                     that H&LA cannot and does not guarantee
      prospective reader that the engagement                  and makes no representations as to the
      assumes that the property will be                       success of the project. H&LA shall not be
      competently      managed,      leased,    and           liable for any incidental, breach of warranty,
      maintained by financially sound owners over             consequential or punitive damages, expenses,
      the expected period of ownership. H&LA is not           costs or losses whatsoever directly or
      responsible for future marketing efforts and            indirectly arising out of the services
      other management or ownership actions upon              performed hereunder (including negligence
      which actual results will depend.                       and/or gross negligence). In addition, there is
                                                              no accountability or liability to any third
12.   The forecast of income and expenses are not             party.
      predictions of the future. Rather, they are the
      consultants’ best estimates of current market     17.   The client hereby releases and discharges
      thinking on future income and expenses. We              H&LA, its directors, officers, and employees,
      do not warrant that the estimates will be               from and against any and all claims and
      obtained, but that they have been prepared in           demands of any nature or kind whatsoever
      a conscientious manner on the basis of                  arising as a result of the design,
      information obtained during the course of this          development, operations, and performance of
      study.                                                  the proposed or existing project. The client
                                                              furthermore agrees to indemnify, defend and
13.   The subject property is valued assuming all             hold harmless H&LA and its directors, officers
      items of furniture, fixtures, equipment,                and employees, from any and all claims of
      working capital, and inventory are in place.            any nature whatsoever, including attorney
      Should items essential in the operation of the          fees, expenses and costs.
      hotel prove to be missing, we reserve the
      right to amend the opinion of value expressed     18.   The report does not address the project’s
      in an appraisal report.                                 compliance with the federal statute commonly
                                                              known as the Americans with Disabilities Act
14.   H&LA does not, as part of this consulting               as well as regulations and accessibility
      report or appraisal, perform an audit, review,          guidelines promulgated thereunder.
      or examination (as defined by the American
      Institute of Certified Public Accountants) of     19.   The provisions of the report, the engagement
      any of the historical or prospective financial          letter and these standard conditions shall be
      information used and therefore, does not                severable, and if a court of competent
      express any opinion with regard to it.                  jurisdiction holds any provisions of the report,
                                                              engagement letter and these standard
15.   The consulting engagement or appraisal                  conditions invalid, illegal or unenforceable,
      report has been prepared in accordance with             the remaining provisions shall nevertheless
      the Uniform Standards of Professional                   remain in full force and effect as written.
